Case 4:20-cv-00068-RWS-CMC Document 149-4 Filed 12/18/20 Page 1 of 3 PageID #: 3483




       From: Steve Kardell <skardell@kardelllawgroup.com>
       Subject: RE: Lozada Aﬃdavit; OSHA Rule change
       Date: August 25, 2020 at 5:13:56 PM CDT
       To: "hutch@hsjustice.com" <hutch@hsjustice.com>
       Cc: Rafe Foreman <srforeman@hsjustice.com>, Juan
       Antonio Lozada <juan@tximmigrationlaw.com>

       Here’s the blog that explains the OSHA rule change:

       Timeline:
       Old OSHA procedure (requiring a prima facie showing):
       May, 2015
       New OSHA procedure (eliminaGng prima facie showing
       requirement): January 28, 2016,
       Our OSHA Complaint: September 28. 2017




       Steve Kardell

       Board Cer.ﬁed Labor & Employment Law; Texas Board of Legal
       Specializa.on



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                                                                          Exh 4
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       From: hutch@hsjusGce.com <hutch@hsjusGce.com>
       Sent: Tuesday, August 25, 2020 4:52 PM
       To: Steve Kardell <skardell@kardelllawgroup.com>
       Cc: Rafe Foreman <srforeman@hsjusGce.com>; Juan Antonio Lozada
       <juan@tximmigraGonlaw.com>
       Subject: Lozada Aﬃdavit

       Good talking with you, Steve. You and I talked about you drafing an
       aﬃdavit that we can agach as an exhibit to our Response to MSJ
       addressing the “intent” allegaGons made by the D. We appreciate your
       help. Susan




                                                                                   Exh 4
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